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                                UNITED STATES DISTRICT COURT for
                              the SOUTHERN DISTRICT OF CALIFORNIA


            UNITED STATES OF AMERICA
            ex rel. [UNDER SEAL],                    Civ. Action No.   '21CV243 AJB AGS
                                                                       -----
               Plaintiff~,                              QUITAM COMPLAINT
                                                         FILED UNDER SEAL
                                                            PURSUANT TO
                   v.                                     31 U.S.C. § 3730(b)2
                                                      DEMAND FOR JURY TRIAL

            [UNDER SEAL],

               Defendants.
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 6

 7                                UNITED STATES DISTRICT COURT for
                                the SOUTHERN DISTRICT OF CALIFORNIA
 8

 9     UNITED STATES OF AMERICA
10     ex rel. Kathryn Moore                                      Civ. Action No. _ _ _ _ __

11         Plaintiffs,                                               QUITAM COMPLAINT
                                                                      FILED UNDER SEAL
12                                                                       PURSUANT TO
               V,                                                      31 U.S.C. § 3730(b)2
13
                                                                   DEMAND FOR JURY TRIAL
14
       SYNERGY ONE LENDING, INC., MUTUAL
15     OF OMAHA MORTGAGE, INC, and
       MUTUAL OF OMAHA MORTGAGE, LLC.,
16
           Defendants.
17

18
                                                  COMPLAINT
19
             On behalf of the United States of America, Relator Kathryn Moore files this qui tam
20
      Complaint against Defendants SYNERGY ONE LENDING, INC., MUTUAL OF OMAHA
21
      MORTGAGE, INC, and MUTUAL OF OMAHA MORTGAGE, LLC., and alleges as follows:
22
23                                              INTRODUCTION
24

25            1.         This is an action brought by Relator Kathryn Moore to recover treble damages and

26 civil penalties on behalf of the United States of America arising from an unlawful scheme by

27

28

                                                       • I•
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 l    Defendants SYNERGY ONE LENDING, INC., MUTUAL OF OMAHA MORTGAGE, INC.,

 2    and MUTUAL OF OMAHA MORTGAGE, LLC. (collectively "Defendants") in violation of the

 3 Truth in Lending Act ("TILA") and the False Claims Act ("FCA").

 4           2.      Specifically, Defendants steer mmigage customers towards loans with more
 5
      onerous terms when doing so is mOl'e profitable to the Defendants. Defendants accomplish this by
 6
      structuring the loan originators' commissions to incentivize the unlawful practice of steering. This
 7
      is a violation of the TILA, 15 U.S.C. §1601 et seq.
 8

 9
             3.      Because Defendants falsely certified that they disclosed the availability of more

10 favorable loans to the customers this is also a violation of the FCA, 31 U.S.C. § 3729 et seq..

11           4.      The estimated total damages to the United States from these false and fraudulent

l2    claims and statements are significant.
13
                                                  PARTIES
14
             5.      Defendant Synergy One Lending, Inc. ("Synergy") is Delaware corporation with
15
      its headquarters at 3131 Camino Del Rio N # 150 in San Diego, CA 92108.
16
             6.      Synergy is a national mortgage lender authorized to operate in forty-eight states.
17
18           7.

19           8.      On information and belief, Relator estimates that approximately one-third of

20 Synergy's consumer mortgage loans are federally backed via the Federal Housing Administration
21    ("FHA") or the Department of Veterans' Affairs ("VA").
22
             9.      Mut1ml of Omaha Mo1tgage, Inc. and Mutual of Omaha Mortgage, LLC
23
      (collectively: "Mutual") are a Delaware corporation and limited liability company respectively.
24
             10.     Mutual is a national mmtgage lender operating in twenty-three states.
25

26           11.     On infmmation and belief, Mutual purchased Synergy in 2013.

27

28

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              12.    On information and belief, Mutual and Synergy split in or around June 2020 when
 I
 2 a management-led team of investors purchased Synergy One from Mutual.

 3            13.    Mutual maintains its corporate headquarters at 3131 Camino Del Rio N # 1100 in

 4    San Diego, CA 92108.
 5            14.    Relator Kathryn Moore was a mortgage loan originator for the Defendants from
 6
      October 2018 until May 2020. Relator's primary duties involved assisting consumers select and
 7
      apply for m01igages. Relator had ten years of experience in the mortgage loan industry prior to
 8
      working for the Defendants.
 9
10                                     JURISDICTION AND VENUE

11            15.    Venue and jurisdiction are the same under the FCA. 31 U.S.C. § 3732. An action

12 may be brought in any judicial district in which any Defendants may be found or in which any

13 proscribed act occurred. 31 U.S.C. § 3732(a).
14
              16.    The United States District Court for the Southern District of California has
15
      jurisdiction and venue for any Complaint brought in the matter because one of the Defendants is
16
      located in this district and many of the proscribed acts occimed in this district.
17
18            17.    Relator is unaware that the allegations in this Complaint have been publicly

19 disclosed. Fmiher, to the extent that any of the information in this Complaint has been publicly

20 disclosed, Relator's allegations in this Complaint are not based on such public disclosures.
21            18.    Additionally, Relator is an original som·ce of the information upon which
22
      Relator's allegations are based because Relator has knowledge that is independent of and
23
      materially adds to any allegations or transactions that may have been publicly disclosed.
24
              19.    Pursuant to 31 U.S.C. § 3730(b)(2), the Relator must provide the Government
25
26 with a copy of the Complaint and/or a written disclosure of substantially all material evidence

27 and material information in their possession contemporaneous with the filing of the Complaint.
28

                                                       . 3.
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             20.       Relator has complied with this provision by serving his pre-suit Disclosure

 2    Statement with attached exhibits upon Joseph Price, Esq., Assistant United States Attorney for

 3    the Southern District of California.

 4           21.       In further compliance with 31 U.S.C. §3730(b)(2), relator shall,
 5
      contemporaneously with the filing of this Complaint, serve copies of this Complaint upon the
 6
      United States Attorney for the Southern District of California and on the Attorney General of the
 7
      United States.
 8
             22.       In further compliance with 31 U.S.C. § 3730(b)(2), this Complaint is being filed
 9
lo    in camera and will remain under seal for a period of at least sixty days and shall not be served on

11    the Defendants until the Court so orders.

12
                                             LEGAL FRAMEWORK
13
14 I.        THE FEDERAL FALSE CLAIMS ACT

             23.       Originally enacted in 1863, Congress substantially amended the FCA in 1986. The
15
16    1986 amendments enhanced the Government's ability to recover losses sustained as a result of

17 fraud against the United States.
18           24.       Fuiiher clarifying amendments were adopted in May 2009 and March 2010. The
19
      FCA imposes liability upon any person who "knowingly presents, or causes to be presented [to the
20
      Government] a false or fraudulent claim for payment or approval;" or "knowingly makes, uses or
21
      causes to be made or used, a false record or statement material to a false or fraudulent claim;" or
22

23    "knowingly makes, uses, or causes to be made or used, a false record or statement material to an

24 obligation to pay or transmit money or property to the Government, or knowingly conceals or

25    knowingly and improperly avoids or decreases an obligation to pay or transmit money or property
26 to the Government." 31 U.S.C. 3729(a)(l)(A), (B), (G).

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             25.       Any person found to violate these provisions is liable for a civil penalty of up to
 1
 2 $11,000 for each such false or fraudulent claim, plus three times the amount of the damages

 3 sustained by the Government.

 4           26.       Significantly, the FCA imposes liability where the conduct is merely "in reckless
 5 disregard of the truth or falsity of the information" and further clarifies that "no proof of specific
 6
      intent to defraud is required." 31 U.S.C. 3729(b)(I).
 7
             27.       The FCA also broadly defines a "claim" as one that includes "any request or
 8
      demand, whether under a contract or otherwise, for money or property and whether or not the
 9
10 United States has title to the money or property, that-(i) is presented to an officer, employee, or

11    agent of the United States; or (ii) is made to a contractor, grantee, or other recipient, if the money

12 or property is to be spent or used on the Government's behalf or to advance a Goverlllllent program
13
      or interest, and if the United States Goverlllllent -   (i) provides or has provided any po1tion of the
14
      money or property requested or demanded; or (ii) will reimburse such contractor, grantee, or other
15
      recipient for any portion of the money or property which is requested or demanded." 31 U.S.C. §
16
      3729(b)(2)(A).
17

18            28.      A false statement or course of action is actionable under the FCA when the

19 defendant falsely certifies that it has complied with a statute or regulation, the compliance with
20 which is a condition for participation in a Government-funded program.

21
              29.      The FCA empowers private persons with information regarding a false or
22
      fraudulent claim against the Goverlllllent to bring an action on behalf of the Government and to
23
      share in any recovery - i.e. a qui tam provision.
24

25
26

27

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             30.     The complaint must be filed under seal without service on any Defendants. The
 1
 2    complaint remains under seal while the Govermnent conducts an investigation of the allegations

 3 in the complaint and determines whether to intervene in the action. 31 U.S.C. § 3730(b).

 4    II.     TRUTH IN LENDING ACT
 5           31.     Congress originally enacted the TILA in 1968 to assist consumers in their dealings
 6
      with lenders and creditors. Some of the most important aspects of the Act concern information
 7
      that must be disclosed to a borrower prior to extending credit such as the annual percentage rate,
 8
      the term of the loan and the total costs to the borrower. The TILA requires that this information
 9

10    be conspicuous on documents presented to the borrower before the loan can be made.

11           32.     The specific rules governing mortgage lending are contained in "Regulation Z". 12

12 C.F.R. 1026. Regulation Z prohibits certain practices relating to payments made to compensate
13
      mortgage brokers and other loan originators. The goal of the amendments is to protect consumers
14
      in the mortgage market from unfair practices involving improper compensation paid to loan
15
      originators.
16
              33.    Regulation Z prohibits a loan originator from "steering" a consumer to a lender
17
18    offering less favorable terms to increase the loan originator's compensation.

19            34.    The loan originator can avoid the prohibition on steering by meeting the safe harbor

20    conditions stipulated in the regulation. Specifically, the loan originator must obtain and present to
21
      the consumer loan options from a number of the creditors with which the originator regularly does
22
      business. Here, the Defendants did not meet the safe harbor conditions.
23
      III.    FEDERALLY-BACKED MORTGAGE PROGRAMS
24
              35.    The Federal Government employs a variety of methods to encourage lenders to
25
      extend credit to consumers wishing to purchase a home. Among the more common or well-
26
27 known methods are FHA Loans and VA Loans.

28

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             36.     FHA loans are m01tgages that are insured by the Federal Housing Administration.

2 The program originated during the Great Depression when the rates of foreclosures and defaults
 3 rose sharply among lower-income Americans. Congress created the program to insure lenders

4 against their borrowers defaulting on the mortgage loan thus encouraging lenders to continue
5
      lending to high-risk, low-income borrowers.
6
             37.     VA loans are mmtgages insured by the Deprutment of Veterans' Affairs. The VA
7
      loan program is designed to encourage lenders to extend credit to veterru1s seeking to purchase a
8
      home by insuring the loan against default thereby mitigating the risk to the lenders.
 9
10           38.     FHA and VA loans include a number of eligibility requirements for the borrowers

11 such as minimum income and down payment. The programs also include eligibility
12 requirements for the lenders. Of key importru1ce here, to participate in the FHA or VA loan

13
      programs, the lender must certify compliance with the TILA. In pruticular, a lender must cettify,
14
      for reach loan for which it seeks federal backing through the FHA or VA programs, that the loan
15
      was not obtained through "steering" or any other violation of the TILA. A false certification of
16
      compliance by a lender is not only a violation of the TILA, but also gives rise to liability under
17
18 the FCA.

19 IV.       MORTGAGE REVENUE BOND LOANS
20           39.     A Mo1tgage Revenue Bond Loan ("bond loan") is a type of loan to a homebuyer
21
      where the cost of borrowing is pat'lially subsidized by a state or municipal bond. The govemment
22
      uses the money raised from the sale of mortgage revenue bonds to lower the cost of buying a home
23
      for community members who otherwise cannot afford it. Benefits to the borrower may include
24
      lower interest rates and down-payment assistance. Lenders that would otherwise not lmve lent to
25
26 low and middle-income applicants because of the higher risk of default, take the govemment

27 backing to extend home loans to the riskier applicants thereby increasing home ownership.
28

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!
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                                    DEFENDANT'S IMPROPER CONDUCT
                 40.     Defendants unlawfully structured commissions for loan originators to encourage
    2

     3 those originators to steer consumers towards more onerous loans.

    4            41.     Relator first learned of this improper conduct on March 26, 2020, when she was

     5 informed by upper management of the changes made to her commissions. Specifically, Defendants
     6
          informed relator and other loan officers that their commission rates for bond loans would be
     7
          decreased. Defendants explained that if loan originators wanted to maximize their commissions,
     8
          they would have to push consumers into other conventional loans with terms that are unfavorable
     9
          to the consumer.
    10

    11           42.     According to the Relator, management designed the new incentive structure to

    12 pressure loan originators to steer consumers towards loans that were more onerous to them but

    13    much more profitable for the company.
    14
                 43.     According to the Relator, her refusal to go along with the Defendants' scheme led
    15
          to a 62% reduction in her commissions.
    16
                 44.     On or before March 30, 2020, Defendants circulated a document entitled "Loan
    17
          Officer Compensation Addendum" which indicated that compensation on all bond loans would be
    18
    19    lowered to 50 basis points or .5% of the value of the loan.

    20           45.     According to Rclator, Defendants made this change to pressure loan officers to steer

    21    consumers away from bond loans and towards conventional loans because the latter were more
    22
          profitable for the company even though they were less favorable for the consumer.
    23
                 46.     Internal emails reveal that immediately following the change in the commission
    24
          structure, loan officers started converting bond loan agreements, including FHA and VA loans, to
    25
    26    conventional loans or "straight product" that were less favorable to the consumers because they

    27

    28

                                                          - 8-
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     did not include down payment assistance. These products were less favorable to the consumers

2 but more favorable to the Defendants.
3           47.     On March 26, 2020, Executive Vice President Aaron Nemec circulated a company-

4 wide email explaining that "Mutual is not fw1ding another state bond loan whether approved or
5 locked or not [because they] don't believe we'll be able to sell it as mentioned on the calls earlier."

6
            48.     On the same email, Aaron Nemec further explained that they could no longer fund
7
     bond loans because the group of management-led investors who were planning to purchase
 8
     Synergy away from Mutual would bear the higher risk associated with such loans.
 9
10           49.    Many individual managers at Synergy had a personal incentive to discontinue bond

11   loans because they were personally invested-in some cases, for $100,000.00-in the Synergy

12 buyout.
13
             50.    Aaron Nemec further explained that this higher risk "would be a material risk we
14
     would need to disclose to all [investors] ... and it could negatively impact the ... investment which
15
     is on schedule to close next Tuesday."
16
             51.    In effect, Aaron Nemec acknowledged in the email of March 26 that Defendants
17
18 intended to discontinue bond loans, including those that had already been approved and locked,·

19 because they did not want to jeopardize the upcoming purchase of Synergy by a team of
20 management-led investors.
21
             52.    Contrary to what Aaron Nemec claimed about Mutual's concern that they would
22
     not be able to sell bond loans once originated, the Idaho Housing and Finance Association
23
     ("IHFA") issued a "Covid-19 Update" March, 2020, reassuring lenders that "[w]ith ample
24
25   liquidity, IHFA is well prepared to purchase [bond] loans in accordance with our program

26 requirements."

27

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            53.     On March 27, 2020, Executive Vice President Aaron Nemec circulated a company-
 1

2 wide email memorializing the Defendants' policy announced in a conference call that same day.

 3 In the email, Aaron Nemec stated that the company "will not accept any new bond [loan]

4    applications ... until fiuther notice." According to Relator, the reason for this policy was precisely
 5
     to steer customers to less favorable loans. While no mortgage lender is legally required to offer
 6
     bond loans to its customers, Regulation Z, explained above, requires that a lender disclose to a
 7
     potential borrower if other, more favorable loan products, are available in the marketplace.
 8
            54.     According to Relator, Defendant did not disclose to its borrowers that bond loans
 9
1o were offered by other lenders and instead pressured those borrowers, who in many cases were

11   under tight time constraints, into less favorable loans.

12           55.    Also on March 27, 2020, Underwriting Manager Kim Bird wrote an email to the
13
     Idaho Sales team with instructions on how to conve1t government-backed bond loans to "a straight
14
     product." The email does not instruct the sales team to present the consumers with alternative
15
     options, as required by Regulation Z, before converting the loans.
16
             56.     The email of March 27, 2020 lists a number of consumers whom the Defendants
17
18 steered away from FHA bond loans, in violation of Regulation Z. These cons1m1ers included, but

19 were not limited to:

20                   a. Adrian Blanco
21
                     b. Dean T. Blanton
22
                     c. Javier Perez Duron
23
                     d. Justin Kyle Earl
24

25                  e. Travis Hull

26                   f. Timothy J. Jensen
27

28

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                   g. Cassandra Lachapelle
 1

2                   h. William Can·oll McCulloch

3                   i.   Sarah McGuire

4                  j.    Eileen Smith
 5                  On March 30, 2020, Aaron Nemec circulated another company-wide email further
            57.
6
     memorializing Defendants' new policy. According to this email, commissions on all bond loans
7
     would be lowered to 50 basis points, or .5% of the value of the loan. As explained above,
 8
     Defendants established this policy to pressure loan officers to steer conswners into other types of
 9
1o loans with more onerous terms.

11          58.     According to Relator, managers were financially incentivized to not call out the

12 illegal activity on bond loan commission because they were financially invested in the company.

13
     Any bond loan that the Defendants could not remove from its books by selling to a third party
14
     would be a liability to the company and the managers invested in it.
15
            59.     As witnessed by the Relator and further evidenced by communications referenced
16
     above, Defendants unlawfully structured commissions for loan originators to encourage those
17
18 originators to improperly steer consumers towards more onerous loans.

19                DEFENDANTS' IMPROPER CONDUCT CAUSED SUBSTANTIAL
                            DAMAGE TO THE GOVERNMENT.
20

21          60.     Defendants violated the TILA by knowingly and improperly steering their

22 customers to less favorable loans without informing them of more favorable alternatives as

23 required by law.
24                  Defendants further violated the TILA by structuring the commissions of their loan
            61.
25
     originators to encourage the originators to steer the consumers towards less favorable loans.
26
27

28

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            62.    Defendants then violated the FCA by falsely certifying to the Government that the

2 loans were obtained in compliance with the reqnirements of the TILA. Through these schemes,
3 Defendants caused the United States to incur millions of dollars in damages.

4
                                            CONCLUSION
 5
            63.    The false claims alleged herein pertain to the submission of false or fraudulent
 6
7 claims to the United States Government concerning Government-backed mortgage insurance
 8 programs.

 9          64.    It is alleged that the aforementioned conduct violates the False Claims Act,

lO including, but not limited to, the following: 31 U.S.C. § 3729(a)(l)(A); 31 U.S.C. § 3729(a)(l)(B);
11
   31 U.S.C. § 3729(a)(l)(C); 31 U.S.C. § 3729(a)(l)(D); 31 U.S.C. § 3729(a){l)(E); 31 U.S.C. §
12
   3729(a)(l)(F); and 31 U.S.C. § 3729(a)(l)(G).
13
           65.     In light of the foregoing, Defendants are liable to the United States for civil
14
J5 penalties and statutory damages.

16          66.    The estimated total damages to the United States from the false and fraudulent

l 7 claims and statements made as a result of the aforementioned actions are significant.
18                                      CLAIMS FOR RELIEF
19
                                              COUNT I
20                          False Claims Act: Presentation of False Claims
                                      31 U.S.C. § 3729(a)(l)(A)
21
            67.    Relator repeats and incorporates by reference the allegations above as if fully
22
     contained herein.
23
24          68.    As more particularly set forth in the foregoing paragraphs, by virtue of the acts

25 alleged herein, Defendants have "knowingly present[ed], or cause[d] to be presented, to an officer
26
27
28

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     or employee of the United States Government or a member of the Aimed Forces of the United
 1
 2   States a false or fraudulent claim for payment or approval" in violation of 31 U.S.C. § 3729(a)(l).

 3          69.     As a result of Defendants' acts, the United States has been damaged, and continues

 4 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled
 5
     to at least $5,000 and as much as $11,000 for each such false or fraudulent claim submitted on or
 6
     before November 2, 2015 and up to $21,563 for violations committed after November 2, 2015,
 7
     plus three times the amount of the damages sustained by the Government for each and every
 8
     violation of 31 U.S.C. § 3729 arising from Defendants' unlawful conduct as described herein. See
 9
1o 28 C.F.R. §§ 85.3(a)(9).

11                                             COUNT II
                           False Claims Act: Making or Using a False Record
12                               or Statement to Cause Claim to be Paid
                                        31 U.S.C. § 3729(a)(l)(B)
13

14          70.     Relator repeats and incorporates by reference the allegations above as if fully

15 contained herein.

16          71.     As more particularly set forth in the foregoing paragraphs, by virtue of the acts
17
     alleged herein, the Defendants have "knowingly ma[de], use[d], or cause[d] to be made or used, a
18
     false record or statement - i.e., the false cettifications and representations made or caused to be
19
     made by the Defendants - to get a false or fraudulent claim paid or approved by the Government"
20
     in violation of 31 U.S.C. § 3729(a)(2).
21

22          72.     As a result of Defendants' acts, the United States has been damaged, and continues

23   to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

24 to at least $5,000 and as much as $11,000 for each such false or fraudulent claim submitted on or

25
     before November 2, 2015 and up to $21,563 for violations committed after November 2, 2015,
26
     plus three times the amount of the damages sustained by the Government for each and every
27

28

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     violation of31 U.S.C. § 3729 arising from Defendants' unlawful conduct as described herein. See

2 28 C.F.R. §§ 85.3(a)(9).

 3                                           COUNTIII
                          False Claims Act: Conspiracy to Commit a Violation
 4                                      U.S.C. § 3729(a)(l)(C)
 5
            73.     Relator repeats and incorporates by reference the allegations above as if fully
 6
     contained herein.
 7
            74.     As more paiticularly set forth in the foregoing paragraphs, by vi1tue of the acts
 8
     alleged herein, the Defendants and its agents have "conspire[d] to commit a violation of
 9
10 subparagraph (A), (B), (D) ... or (G)" in violation of31 U.S.C. §3729(a)(l)(C).

11          75.     As a result of Defendants' acts, the United States has been damaged, and

12 continues to be damaged, in a substantial amount to be determined at trial, and the United States

13
     is entitled to at least $5,000 and as much as $11,000 for each such false or fraudulent claim
14
     submitted on or before November 2, 2015 and up to $21,563 for violations committed after
15
     November 2, 2015, plus three times the ainount of the damages sustained by the Government for
16
     each and every violation of 31 U.S.C. § 3729 arising from Defendants' 111llawful conduct as
17
18 described herein. See 28 C.F.R. §§ 85.3(a)(9).

19                                           COUNT IV
                         False Claims Act: Knowingly Delivers Less Than All of
20                         Government's Property in Defendants' Possession
21                                       U.S.C. §3729(a)(l)(D)

22          76.     Relator repeats and incorporates by reference the allegations above as if fully

23 contained herein.
24
            77.     As more particulai'ly set forth in the foregoing paragraphs, by virtue of the acts
25
     alleged herein, the Defendants "ha[d] possession, custody, or control of property or money used,
26

27

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     or to be used, by the Government and knowingly deliver[ed], or cause[d] to be delivered, less than

2    all of that money or prope1ty" in violation of 31 U.S.C. §3729(a)(l)(D).

3           78.     As a result of Defendants' acts, the United States has been damaged, and continues

4 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled
5 to at least $5,000 and as much as $11,000 for each such false or fraudulent claim submitted on or
6
     before November 2, 2015 and up to $21,563 for violations committed after November 2, 2015,
 7
     plus three times the amount of the damages sustained by the Govemment for each and every
 8
     violation of31 U.S.C. § 3729 arising from Defendants' unlawful conduct as described herein. See
 9
10 28 C.F.R. §§ 85.3(a)(9).

11                                          COUNTY
             False Claims Act: Knowingly Conceals or Improperly Avoids an Obligation
12                               to Pay Money to the Government
                                       U.S.C. §3729(a)(1)(G)
13

14          79.     Relator repeats and incorporates by reference the allegations above as if fully

15   contained herein.

16          80.     As more pruticularly set forth in the foregoing pru·agraphs, by vhtue of the acts
17
     alleged herein, the Defendants "knowingly makes, uses, or causes to be made or used, a false
18
     record or statement material to an obligation to pay or transmit money or property to the
19
     Government, or knowingly conceals or knowingly and improperly avoids or decreases and
20

21   obligation to pay or transit money or property to the Government: in violation of 31 U.S.C.

22   §3729(a)(l)(G).

23           81.    As a result ofDefendru1ts' acts, the United States has been damaged, and continues
24 to be damaged, in a substantial amount to be determined at trial, and the United States is entitled

25
     to at least $5,000 and as much as $11,000 for each such false or fraudulent claim submitted on or
26
     before November 2, 2015 and up to $21,563 for violations co111111itted after November 2, 2015,
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Case 3:21-cv-00243-AJB-AGS Document 1 Filed 02/09/21 PageID.17 Page 17 of 19




     plus three times the amount of the damages sustained by the Government for each and every

 2 violation of31 U.S.C. § 3729 arising from Defendants' unlawful conduct as described herein. See

 3 28 C.F.R. §§ 85.3(a)(9).

 4                                        PRAYERS FOR RELIEF
 5          WHEREFORE, for each of these claims, the qui tam Plaintiff requests the following relief
 6
     from each of the Defendants, jointly and severally, as to the federal claims:
 7
                •   Three times the amount of damages that the Government sustains because of the
 8
                    acts of Defendants;
 9
10              •   A civil penalty of for each violation;

11              •   An award to the qui tam Plaintiff for collecting the civil penalties and damages;
12              •   Award of an amount for reasonable expenses necessarily incurred;
13
                •   Award of the qui tam Plaintiff's reasonable attorneys' fees and costs;
14
                •   Interest; and
15
                •   Such fmther relief as the Comt deems just.
16
17
18                                    DEMAND FOR JURY TRIAL

19          Relator hereby demands a trial by jury as to all issues.
20
21
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23
24
                                                             MUELLER LAW OFFICES
25                                                           404 West 7th Street
                                                             Austin, X 78701
26                                                           Telephone: (512) 478-1236
                                                             Facsimile: (512) 478-1473
27
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1

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                                             MUELLER LAW LLC
3                                            363 Bloomfield Avenue
                                             Suite 2-C
4                                            Montclair, New Jersey 07042
                                             Telephone: (973) 233-8290
5                                            Facsimile: (973) 509-9521
6                                            William.Hurlock@muellerlaw.com

7                                            ATTORNEYS FOR RELATOR
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